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                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:
                                                     CHAPTER 13
MILLARD COURTNEY FARMER, JR.,
                                                     CASE NO. 18-52363-jwc
     Debtor.

JOHN HAROLD MURPHY,

           Movant,

v.                                                   CONTESTED MATTER

MILLARD COURTNEY FARMER, JR.,

           Respondent.

                       JOINT MOTION REQUESTING MEDIATION

        COME NOW Movant and Respondent in the above referenced contested matter

(collectively, the Movant and Respondent are referred to herein as the “Parties”), by and through

the undersigned counsel, and hereby file this “Joint Motion Requesting Mediation” (“Joint

Motion”). In support of the Joint Motion, the Parties show the Court as follows:

     1. On February 9, 2018 (“Petition Date”), Debtor filed a petition for relief under Chapter 13

        of Title 11, United States Code, 11 U.S.C. §§ 101 et seq. (as amended, modified or

        supplemented, the “Bankruptcy Code”) in the United States Bankruptcy Court, docketed

        as Bankruptcy Case No. 18-52363 (“Bankruptcy Case”).

     2. Nancy J. Whaley is the duly appointed and acting Chapter 13 trustee of the Debtor’s

        Estate (“Trustee”).

     3. On March 8, 2018, Debtor filed his Chapter 13 Plan (the “Plan”).


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   4. On April 20, 2018, creditor John H. Murphy (“Murphy”) filed his proof of claim in the

      amount of $723,465.15 (the “Claim”).

   5. On May 14, 2018, Murphy filed a Motion to the Lift the Automatic Stay (DN. 29).

   6. On May 29, 2018, Murphy filed his Objection to Confirmation (DN. 32).

   7. On June 4, 2018, the Debtor filed his (i) Chapter 13 Pre-Confirmation Modification (DN.

      36), (ii) Objection to the Claim of Creditor John H. Murphy (DN. 37), and (iii) Response

      to John. H. Murphy’s Objection to Confirmation (DN. 38) (the Claim, the Plan and the

      objections and responses thereto are hereinafter referred to as the “Pending Matters”)

   8. The Pending Matters are set for an evidentiary hearing before this Court on August 1,

      2018.

   9. The Parties wish to explore the possibility of settlement before expending additional

      economic and judicial resources.

   10. The Parties request that the Court order mediation of the Pending Matters based on the

      consent of the Parties and for good cause shown.

   11. The Parties are aware of other instances where mediation has been approved by the Court

      and a settlement has been reached. Other bankruptcy judges have served as mediators in

      this district and assisted parties with resolving issues without the need for further

      litigation.

   12. The Parties believe the Pending Matters can be resolved through mediation. The Parties

      are willing to consent to mediation of this matter by another bankruptcy judge. The

      Parties request mediation with a bankruptcy court judge who performs mediations and is

      available in July 2018 (on a date convenient to all parties and counsel).


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   13. Attached to this Joint Motion as Exhibit “A” is a proposed Consent Order approving this

       Joint Motion.

       WHEREFORE, the Parties request that the Court enter an order authorizing mediation of

all pending matters in this Bankruptcy Case and granting such other and further relief as deemed

appropriate.

       Respectfully submitted this 20th day of June, 2018.


Consented to By:                                   Prepared and Consented to By:
KILPATRICK TOWNSEND &                              JONES & WALDEN, LLC
STOCKTON, LLP
                                                   /s/ Cameron M. McCord
/s/ Colin M. Bernardino                            Cameron M. McCord
Colin M. Bernardino                                Georgia Bar No. 143065
Georgia Bar No. 054879
                                                   21 Eighth St NE
1100 Peachtree Street, NE, Suite 2800              Atlanta, Georgia 30309
Atlanta, Georgia 30309                             404-564-9300
404.815.6500, phone                                cmccord@joneswalden.com
cbernardino@kilpatricktownsend.com                 Attorney for Debtor
Attorney for John H. Murphy




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                               Exhibit “A” Follows:




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v.                                                   CONTESTED MATTER

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           Respondent.

                             ORDER DIRECTING MEDIATION

        The parties have requested that they be directed to participate in mediation with regard to

all Pending Matters in the instant Bankruptcy Case. It appears that the most productive form of

mediation is to designate a current bankruptcy judge, with no assignment or responsibility for

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these proceedings, as a settlement judge to serve as a neutral mediator and that Bankruptcy Judge

_____________________ is qualified and suitable to serve in that capacity.

Accordingly, for good cause shown, it is hereby ORDERED as follows:

       1.      The parties to this proceeding shall mediate the issues and disputes presented in

these proceedings. Bankruptcy Judge ________________ is designated as a settlement judge

with regard to this matter for the purpose of conducting mediation proceedings as the neutral

mediator. In the event Judge ______________ is not available to serve as mediator, the parties

shall in good faith consider other bankruptcy judges. Such mediation shall be conducted at a

time and place and in accordance with procedures mutually agreed upon by the parties and the

settlement judge, with said mediation to take in the month of July 2018. The parties or their

representatives with full authority to settle any and all issues in the Pending Matters shall appear

and participate in good faith in such mediation session.


       2.      Because Judge ______________ will be serving as the neutral mediator in this

matter and because the nature of the mediation process requires ex parte contacts and

communications between the neutral mediator and each of the sides, the prohibitions of FED. R.

BANKR. P. 9003 do not apply to communications among the parties, their attorneys, and Judge

_____________ in connection with the mediation proceedings. The parties and their attorneys

may, therefore, have ex parte communications with Judge ______________ in his or her

capacity as the neutral mediator in connection with the mediation proceedings.


       3.      Except as provided in this paragraph, all communications made by the parties or

their attorneys to each other or to Judge _____________ in connection with the mediation


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process, the conduct and demeanor of the parties and their counsel during the mediation, and any

documents prepared or produced in connection with the mediation process, including Judge

_____________’s notes or records, shall be confidential and shall not be admissible in evidence

or the subject of any discovery in any proceeding (unless admissible or discoverable without

regard to the mediation). The mediation sessions and any conferences or proceedings in

connection therewith shall be treated as compromise negotiations for purposes of the Federal

Rules of Evidence, the Georgia Rules of Evidence, or any rules of evidence of any other

jurisdiction. No record will be maintained after conclusion of the mediation proceedings other

than Judge _____________’s notes and notes of the participating attorneys and parties. Judge

_____________ is disqualified from appearing as a witness in any matter, and shall not be

called as a witness, with regard to the mediation or any matter arising out of or related thereto,

except as follows: The parties agree that each side will appear on time for the mediation session

with their counsel of record; that they will participate in good faith and that they will continue

sincere efforts to mediate in good faith for a minimum time frame of two (2) hours. If any of the

details in this “exception” clause are not met by either side, Judge _____________ shall have

the authority to report same to the Court’s attention in his mediation report. Following either (1)

Court approval of a settlement or (2) the Court’s receipt of the mediator’s report, which report

announces an impasse but does not assert that any party failed to participate in the mediation in

good faith, Judge _____________ may destroy his mediation notes.



                                          End of Order




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Consented to By:                                 Prepared and Consented to By:
KILPATRICK TOWNSEND &                            JONES & WALDEN, LLC
STOCKTON, LLP
                                                 /s/ Cameron M. McCord
/s/ Colin M. Bernardino                          Cameron M. McCord
Colin M. Bernardino                              Georgia Bar No. 143065
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JOHN HAROLD MURPHY,

            Movant,

v.                                                         CONTESTED MATTER

MILLARD COURTNEY FARMER, JR.,

            Respondent.

                                    CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the foregoing Joint Motion Requesting
Mediation on all parties referenced below by depositing a copy of same in the United States
Mail, postage prepaid mail to the following:

Office of the United States Trustee                      Colin Bernardino
362 Richard B. Russell Federal Building                  Kilpatrick Townsend
75 Ted Turner Drive, SW                                  1100 Peachtree St., N.E., Suite 2800
Atlanta, GA 30303                                        Atlanta, GA 30309

Nancy J. Whaley                                          John H. Murphy
Chapter 13 Trustee                                       c/o Maloy Jenkins Parker
303 Peachtree Center Avenue, Suite 120                   1360 Peachtree Street, NE, Suite 910
SunTrust Garden Plaza                                    Atlanta, GA 30309
Atlanta, GA 30303-1216

        This 20th day of June, 2018.
                                                            JONES & WALDEN, LLC
                                                            /s/ Cameron M. McCord
                                                            Cameron M. McCord
                                                            Georgia Bar No. 143065
                                                            Attorney for Debtor
                                                            21 Eighth Street, N.E.
                                                            Atlanta, Georgia 30309
                                                            (404) 564-9300

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